                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF WISCONSIN


  JOHN DOE,

                    Plaintiff,

          V.                                            Case No. 19-cv-01348-PP

 BOARD OF REGENTS OF THE
 UNIVERSITY OF WISCONSIN
 SYSTEM, UNIVERSITY OF
 WISCONSIN OSHKOSH, ANDREW
 LEAVITT, SHAWNA KUETHER, and
 ABIGAIL K. SYLVIA,

                    Defendants.


   RESPONSE BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS



        Plaintiff, John Doe (hereinafter “Doe”), by John Doe’s attorney, Peter J. Culp, submits this

response Brief in Opposition to Defendants’ Motion to Dismiss

                                  PRELIMINARY STATEMENT
        Defendants’ motion to dismiss should be denied. Doe has faced an administrative process

conducted by the University of Wisconsin-Oshkosh, and participated in by the other Defendants, that

has been riddled with conflicting procedures, ex parte communications, prohibitions on cross

examination, and many other issues, all of which have denied Doe his fundamental constitutional due

process rights, and afforded him unequal protect and treatment under the law. The procedural

shortfalls and failure to adhere to basic Title IX rights has exposed the University’s unfair and unlawful

process. Instead of allowing the multitude of injustices to continue, without challenge, Doe was forced

to file this action against the Defendants, primarily to seek redress for the harms occasioned upon him



{07523378.DOCX.1}                             Page 1 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 1 of 28 Document 31
by the Defendants, but also to ensure a fair process for all other students who are subjected to the

University’s process in the future.

        Doe’s complaint details the inconsistent and unjust procedures that have surfaced during the

University’s investigation. The investigation was biased against Doe from the outset. The person

who first complained, nominated a Complainant under Wisconsin law, reported the alleged

nonconsensual contact to the Interim Dean of Student Joann Bares. Ms. Bares then served as the

complainant when she filed the formal complaint on behalf of the Complainant through the

University’s official reporting site. Ms. Bares then changed hats and served as the investigator of the

complaint she herself had filed. Ms. Bares then changed hats yet again and served as a witness in the

formal hearing on the complaint she filed and that she investigated. As stated in the Complaint, Ms.

Bares concluded her investigation and made the determination that Doe was responsible for the false

accusation of sexual contact.

        This began the hearing process where Doe was (a) continuously denied due process of law in

violation of constitutional due process and 42 U.S.C. § 1983; (b) there was no meaningful access given

for Doe to review and comment on the investigator’s report; (c) despite Doe making a continued

request for the investigation file, there was no providing to Doe the evidence that supposedly

supported the false allegations of the Complainant and thus no adequate ability to prepare a defense

to those allegations; (d) because a witness and reporting party was made the investigator in this

matter there was no presumption of innocence but rather a presumption that the Complainant’s story

was true because the investigator was predisposed to her emotions while reporting the sexual contact

and her story before the investigation began; (e) the hearing examiner refused to issue subpoenas in

order to compel witnesses that supported Doe to testify; and (f) there was a conflict of interest in the

decision-making process, namely, having a hearing examiner and lead prosecutor who both report to

the same person, thereby eliminating any sense of neutrality.


{07523378.DOCX.1}                            Page 2 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 2 of 28 Document 31
        Defendants ignore the University’s institutional shortfalls when addressing Title IX complaints

and argue for dismissal by depicting a procedure that Defendants believe is not unconstitutional

because its not as bad as other institutions. But the fact remains Defendants provided Doe with a

deficient and defective Title IX disciplinary process that did not afford him the necessary due process

and equal protections to conform to adequate constitutional protections.

                            FACTS ALLEGED IN THE COMPLAINT

        Doe submits that Defendants’ statement of facts, coupled with the Complaint itself, more

than sufficiently lays out the facts of this matter for purposes of deciding Defendants’ motion to

dismiss.

                                      STANDARD OF REVIEW

        Fed. R. Civ. Proc. 8 sets forth the liberal requirements of notice pleading. To state a claim for

relief, the complaint must contain a short and plain statement “of the grounds for the court’s

jurisdiction, . . . the claim showing that the pleader is entitled to relief, . . . and a demand for the relief

sought[.]” Fed. R. Civ. P. 8 (a). The purpose of Fed. R. Civ. P. 8 (a) is simply to “give the defendant

fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007).

        Defendants challenge whether Doe satisfied the minimal requirements of Fed. R. Civ. P. 8 (a)

by way of their motion to dismiss under Fed. R. Civ. P. 12 (b)(6). A motion to dismiss under Rule 12

(b)(6) challenges the sufficiency of the complaint, not its merits. Fed. R. Civ. P. 12 (b)(6); Gibson v.

City of Chicago, 910 F. 2d 1510, 1520 (7th Cir. 1990). In connection with a motion to dismiss, courts

must “accept all well-pleaded facts as true and draw reasonable inferences in the plaintiffs’ favor.”

Roberts v. City of Chicago, 817 F. 3d 561, 564 (7th Cir. 2016). “Rule 12 (b)(6) does not countenance

. . . dismissals based on a judge’s disbelief of a complaint’s factual allegations.” Neitzke v. Williams,

490 U.S. 319, 327, 109 S. Ct. 1827, 104 L. Ed. 2d 338 (1989). A well-pleaded complaint may proceed


{07523378.DOCX.1}                               Page 3 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 3 of 28 Document 31
even if it appears “that a recovery is very remote and unlikely.” Scheuer v. Rhodes, 416 U.S. 232, 236,

94 S. Ct. 1683, 40 L. Ed. 2d 90 (1974).

        To survive a motion to dismiss under Rule 12 (b)(6), a complaint must allege “enough facts to

state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127

S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).

        In this context, “plausible,” as opposed to “merely conceivable or speculative,” means that the

plaintiff must include “enough details about the subject-matter of the case to present a story that holds

together.” Carlson v. CSX Transp., Inc., 758 F. 3d 819, 826-27 (7th Cir. 2014) (quoting Swanson v.

Citibank, N.A., 614 F. 3d 400, 404-05 (7th Cir. 2010)). “[T]he proper question to ask is still could

these things have happened, not did they happen.” Id. at 827 (internal quotation and citation omitted).

Plaintiffs “need not ‘show’ anything to survive a motion under Rule 12(b)(6)—[they] need only allege.”

Brown v. Budz, 398 F. 3d 904, 914 (7th Cir. 2005). The complaint should be dismissed only if the

plaintiff would not be entitled to relief under any set of facts that could be proved consistent with the

allegations. Christensen v. Cty. of Boone, IL, 483 F. 3d 454, 458 (7th Cir. 2007) (citations omitted).

                                            ARGUMENT

I.      The Complaint Properly Alleges Violations of the Fourteenth Amendment.

        Defendants argue that Doe failed to state his Fourteenth Amendment claims because Doe did

not plead a liberty or protected interest and the investigation and hearing processes did not violate

due process protects. (Dkt. 27, pp. 6-8; 11-16). Doe disagrees, and respectfully submits that the

Defendants’ motion to dismiss should be denied.




{07523378.DOCX.1}                             Page 4 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 4 of 28 Document 31
        A.          The Complaint sufficient alleges protected liberty or property interests to
                    survive the Rule 12 (b)(6) motion.

        Defendants’ are incorrect that Doe did not plead that he has a protected liberty or property

interest through his continued education at the University. (Dkt. 27, p. 6). Specifically, Doe pled the

following:

                    •     … “Time and again, this circuit has reiterated that students have a substantial
                          interest at stake when it comes to school disciplinary hearings for sexual
                          misconduct. Being labeled a sex offender by a university has both an
                          immediate and lasting impact on a student's life. The student may be forced to
                          withdraw from his classes and move out of his university housing. His personal
                          relationships might suffer. And he could face difficulty obtaining educational
                          and employment opportunities down the road, especially if he is expelled."
                          (Compl. ¶ 60 quoting Doe v. Baum, 903 F. 3d 575, 582 (6th Cir. 2018) (internal
                          citations omitted.)).

                    •     Defendants knowingly and intentionally deprived Plaintiff of his fundamental
                          right to meaningfully participate in the University's Title IX process despite
                          the knowledge that such allegations could lead to life-altering sanctions.
                          (Compl. ¶ 63).

                    •     A person has a protected liberty interest in his good name, reputation, honor
                          and integrity, of which he cannot be deprived without due process. (Compl. ¶
                          71).

                    •     A person has a protected property interest in pursuing his education, as well
                          as in future educational and employment opportunities and occupational
                          liberty, of which he cannot be deprived without due process. (Compl. ¶ 72).

                    •     Plaintiff's constitutionally protected property interest in his continued
                          enrollment at the University was violated by Defendants' actions. (Compl. ¶
                          73).

                    •     Plaintiff's constitutionally protected property interest further arises from the
                          express and implied contractual relationship between the University and
                          Plaintiff. (Compl. ¶ 75).

                    •     It is well established that Fourteenth Amendment due process protections are
                          required in higher education disciplinary proceedings. (Compl. ¶ 76).

                    •     A person who has been admitted to a public university has a protected
                          property interest in continuing his education at that university until he has


{07523378.DOCX.1}                              Page 5 of 28

             Case 2:19-cv-01348-PP Filed 11/08/19 Page 5 of 28 Document 31
                        completed his course of study. The state cannot deprive a person of that
                        interest without due process. (Compl. ¶ 77).

                    •   Plaintiff has obeyed all institutional rules and is therefore entitled to a process
                        commensurate with the seriousness of the allegations and the potential
                        discipline, sanctions, and repercussions he is facing. The allegations in this case
                        could have both an immediate and lasting impact for Plaintiff. He may be
                        forced to withdraw from his classes and move out of his housing. His personal
                        relationships might suffer. And he could face difficulty obtaining educational
                        and employment opportunities down the road. (Compl. ¶ 80).

        Doe’s allegations are consistent with precedent and show that he has been deprived of a liberty

or property interest. The Fourteenth Amendment’s Due Process Clause states that “[n]o state shall .

. . deprive any person of life, liberty, or property without due process of law.” U.S. Const. amend.

XIV. It is generally accepted that a student’s interest in pursuing a public education falls within the

liberty and property protections of the Fourteenth Amendment. Doe v. Cummins, 662 F. App’x 437,

445 (6th Cir. 2016); W. v. Derby Unified Sch. Dist. No. 260, 206 F. 3d 1358, 1364 (10th Cir. 2000)

(“No one disputes that a student faced with the possibility of suspension from public school is entitled

to due process.”); Davis v. Regis Coll., Inc., 830 P. 2d 1098, 1100 (Colo. App. 1991) (“a student’s

interest in attending a public university is a constitutionally protected property right”). A number of

courts have specifically recognized that a public university may not suspend or expel a student for

alleged sexual misconduct without due process. Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d 6, 15

(D. Me. 2005); Doe v. Univ. of Cincinnati, 173 F. Supp. 3d 586, 600 (S.D. Ohio 2016). The First

Circuit held that there is “not a question” that “a student’s interest in pursuing an education is included

within the Fourteenth Amendment’s protection of liberty and property.” Gorman v. Univ. of Rhode

Island, 837 F. 2d 7, 12 (1st Cir. 1988) (citing Goss v. Lopez, 419 U.S. 565, 574-75 (1975)). “Hence, a

student facing expulsion or suspension from a public educational institution is entitled to the

protections of due process.” Id.




{07523378.DOCX.1}                             Page 6 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 6 of 28 Document 31
        The Supreme Court of the United States has also assumed there is a constitutionally protected

interest in higher education at a public university. See Bd. Of Curators of the Univ. of Mo. v.

Horowitz, 435 U.S. 78, 82-85 (1978) (assuming the existence of a liberty or property interest for the

purpose of analyzing petitioner’s due process claims). Accordingly, Doe’s complaint more than

satisfies established law in order to survive a Rule 12 (b)(6) motion at this early stage.

                    i.   Doe has pled a protected liberty interest -- good name and reputation.

        Defendants’ attempt to argue Doe has failed to plead that he has a valid due process claim

based on the denial of a liberty interest. (Dkt. 27, p. 7). Particularly, Defendants state that Doe doesn’t

meet the stigma plus test to show a deprivation of a liberty interest. (Dkt. 27, pp. 7-8). But Doe does

meet the stigma plus tests and, therefore, states a claim upon which relief may be granted.

        “The concept of liberty protected by the due process clause has long included occupational

liberty--‘the liberty to follow a trade, profession, or other calling.’” Wroblewski v. City of Washburn,

965 F. 2d 452, 455 (7th Cir. 1992) (quoting Lawson v. Sheriff of Tippecanoe County, 725 F.2d 1136,

1138 (7th Cir. 1984)). “It is the liberty to pursue a calling or occupation, and not the right to a specific

job, that is secured by the Fourteenth Amendment.” Id. (emphasis in original). A stigma-plus analysis

must be conducted to determine whether there was “an injury to reputation along with a change in

legal status. . . .” Somerset House, Inc. v. Turnock, 900 F. 2d 1012, 1015 (7th Cir. 1990) (emphasis in

original).

        Here, Doe’s complaint satisfies the first step of the stigma-plus test. Namely, Doe has pled

damage to his reputation because the University, after a biased investigation, determined Doe was a

sex offender. “Being labeled a sex offender by a university has both an immediate and lasting impact

on a student's life.” Baum, 903 F. 3d at 582. “The student may be forced to withdraw from his classes

and move out of his university housing.” Id. “His personal relationships might suffer.” Id. “And he

could face difficulty obtaining educational and employment opportunities down the road, especially if


{07523378.DOCX.1}                              Page 7 of 28

             Case 2:19-cv-01348-PP Filed 11/08/19 Page 7 of 28 Document 31
he is expelled.” Id. The Seventh Circuit recognized that a student being “branded” as a sexual

offender is a damage to the student’s reputation. See Doe v. Purdue Univ., 928 F.3d 652, 661 (7th

Cir. 2019) (assumption that Doe in the case suffered an injury from being labeled a sexual offender as

the Court concluded Doe satisfied the stigma-plus test.).

        Doe also satisfies the second element of the stigma-plus test because his legal status changed

by the investigation determining he was a sex offender. As the Seventh Circuit held in Purdue Univ.,

a determination of a sexual offense changes a student’s legal status because he “then went from a full-

time student in good standing to one suspended for an academic year.” Id., 928 F. 3d at 662. The

same is true of Doe in this matter. The University concluded the investigation and made the

determination that he was a sexual offender, and proposed sanctions including a suspension from all

University of Wisconsin institutions for one year and from UW-Oshkosh for 2 years. (Compl. ¶ 34.)

Like in Purdue Univ., this determination immediately changed Doe’s standing from a full-time student

in good standing to a suspended student. Accordingly, Defendants cannot argue in good faith that

Doe’s standing has not changed under the stigma-plus test.

        Moreover, Doe’s new legal status will make it virtually impossible to continue his calling as a

student. Specifically, “[t]he concept of liberty in Fourteenth Amendment jurisprudence has long

included the liberty to follow a trade, profession, or other calling.” Lawson v. Sheriff of Tippecanoe

Cty., Ind., 725 F. 2d 1136, 1138 (7th Cir. 1984). Liberty interests are impinged when someone’s “good

name, reputation, honor or integrity [are] called into question in a manner that makes it virtually

impossible for ... [him] to find new employment in his chosen field.”

        Defendants cite Purdue Univ. for the additional proposition that because Doe is not in the

ROTC program that he cannot satisfy this part of the stigma-plus test. (Dkt 27, pp. 7-8). But

Defendants actions will make it virtually impossible for Doe to continue on in his calling. For instance,

in Lee TT. v. Dowling, the court found that the petitioners in the case satisfied the stigma-plus test


{07523378.DOCX.1}                             Page 8 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 8 of 28 Document 31
because they were branded child abusers in the State of New York’s Central Register. Id., 664 N.E.2d

1243, 1246, 1250 (N.Y. 1996). Because of their branding, one petitioner satisfied the stigma plus test

because “[the Central Register] listing ha[d] severely jeopardized future employment prospects in his

chosen field. Not only [was] the information that he [was] the subject of an indicated report available

to all child care providers, future employers must consult the list before hiring petitioner and if they

choose to hire him they are required by law to state in writing their specific reasons for doing so. . . .”

Id. The second petitioners were foster parents that had their foster kids removed from their home

and would not be “regarded as suitable adoptive parents in the future” unless an agency attempted to

justify it in writing. Id. Given these factors, the court concluded:

                    [T]he inclusion of petitioners in the Central Register not only harmed their personal
                    reputations, it affected their present employment and effectively foreclosed them
                    from any future employment in the child care area. It signified not that petitioners
                    had performed poorly in their prior jobs or suffered from personal inadequacies but
                    that they presented a potential danger to children or, worse, that they might be capable
                    of criminal conduct toward them.

Id.

        The same is true for Doe here. It is undisputed he has suffered harm to his reputation by the

University’s determination, after a biased investigation, that Doe is a sexual offender. And while the

Court in TT. v. Dowling never recognized that the petitioners would never be a child care provider

again, the Court reasoned that their branding as child abusers would make them suffer in their

professional lives because their “personal inadequacies” would keep others from hiring them. Doe

faces a similar future here. The University has proposed sanctions where he would have to leave the

University and apply at a different school for Doe to continue as a student. Those universities’ will

request Doe’s record and will base his admission, not on his performance, but on what the University

deemed to be personal inadequacies. Likewise, an employer can reasonably ask for Doe’s transcripts,

which will show an excellent academic record, but also show that he was labeled by the university as

a sex offender. All of these factors will make it difficult for Doe to have educational or employment

{07523378.DOCX.1}                                   Page 9 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 9 of 28 Document 31
opportunities in the future. Accordingly, Doe satisfies the stigma-plus test and his complaint should

not be dismissed.

                    ii.   Doe has a protected property interest in his transcripts.

        Defendants further argue that Doe has failed to allege a protected property interest. (Dkt. 27,

pp. 6-7). As outlined above, Doe has alleged a protected property interested in his continued

education and property interest through expressed and implied agreements. (Compl. ¶¶ 75-77).

Defendants claim this is not enough. But under Seventh Circuit case law and State law, Doe has a

protected property interest in his transcript that the University has tarnished with false allegations.

        In a bankruptcy case, the Seventh Circuit issued a ruling that found that a university had

violated both the automatic stay and discharge provisions of the United States Bankruptcy Code by

refusing to provide a debtor with a certified copy of her academic transcript. In re Kuehn, 563 F. 3d

289, 294 (7th Cir. 2009). While the bankruptcy discussion is irrelevant, what is relevant is the Seventh

Circuit’s decision that a student has a state-law right to receive a certified copy of their transcript. The

Court reasoned that a student’s right to certified transcripts is a contract. Id. Specifically, the Court

held “[a] right to receive a certified copy of a transcript is essential to a meaningful property right in

grades.” Id. Further, the Court ruled that students have a protected property right in their transcripts

because “[i]ntangible grades are worthless without proof” and universities and employers have

common practices to review transcripts to verify claims regarding an applicant or employee’s academic

record. Id.

        The Kuehn case helps prove two things: (1) Doe’s argument above regarding the University

branding him as a sexual offender will be discoverable by other universities and employer alike is

correct and demonstrates a protected liberty interest because the Seventh Circuit has recognized

university and employer practices requesting transcripts are common; and (2) the case makes it

apparent that Doe has a contractual property right to his certified transcripts. It stands to reason that


{07523378.DOCX.1}                             Page 10 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 10 of 28 Document 31
Doe has a property right to ensure his transcript does not include a charge of nonacademic misconduct

for sexual assault that the University’s failed procedures have branded him with. Accordingly,

Defendants’ arguments miss the mark. Doe’s complaint meets established law and should not be

dismissed.

        B.          The Complaint sufficiently alleges that Doe was not afforded constitutional due
                    process to survive the Rule 12 (b)(6) motion.

        Defendants attempt to argue that Doe’s due process claims fail on the merits because he will

receive constitutionally adequate process. (Dkt. 27, p. 11). It appears Defendants wish to challenge

the merits of whether any aspect of the process complained about violate one or more constitutional

principles and rights. We need not and cannot engage in a merit’s analysis in response to a motion to

dismiss. Rather, we need only review whether the Complaint alleged enough facts to state a claim for

relief that is plausible on its face. Doe posits that he did satisfy that standard in showing that

insufficient notice and an insufficient opportunity to be heard was afforded him.

                    i.     The hearing examiner failed to give Doe a meaningful opportunity to be
                           heard because she failed to comply with Wisconsin law and issue
                           subpoenas.

        Defendants argue that a failure to issue subpoenas does not constitute a constitutional

violation, citing Amundsen v. Chicago Park Dist., 218 F.3d 712 (7th Cir. 2000). (Dkt. 27, p. 12).

However, Amundsen is inapposite. Specifically, unlike here (Compl., ¶ 46), the plaintiff in Amundsen

“never requested a subpoena for a witness.” Id. at 717. Amundson stated “the ability to subpoena

witnesses is not an absolute right.” Id. However, here, the ability to subpoena witnesses was made

an absolute right by Wis. Stat. § 885.01 (4). Moreover, the decision in Amundson relied on Richardson

v. Perales, 402 U.S. 389, 406, 91 S. Ct. 1420, 1430, 28 L. Ed. 2d 842 (1971), where the right to subpoena

was denied “because of the “additional and pragmatic factor” of the sheer “cost of providing live . . .

testimony” at administrative hearings.” Amundson, 218 F. 3d at 717. Here, the student non-academic

misconduct process already affords live testimony at a hearing. Wis. Admin. Code § UWS 17.12.
{07523378.DOCX.1}                             Page 11 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 11 of 28 Document 31
Therefore, cost is irrelevant to the calculus of decision making. For at least these reasons Amundson

does not apply and does not help the Defendants in their quest to avoid responsibility by way of their

motion to dismiss.

        Doe had the clear and established right to “present information and witnesses” at the

hearing. Id. § UWS 17.12 (4)(b). Doe had the right to request Sylvia, as the hearing examiner, to

issue subpoenas on his behalf so that he could have a meaningful opportunity to be heard. Wis.

Stat. § 885.01 (4):

                    The subpoena need not be sealed, and may be signed and issued as follows:

                    .       .       .

                    By any arbitrator, coroner, medical examiner, board, commission, commissioner,
                    examiner, committee or other person authorized to take testimony, or by any
                    member of a board, commission, authority or committee which is authorized to take
                    testimony, within their jurisdictions, to require the attendance of witnesses, and
                    their production of documentary evidence before them, respectively, in any matter,
                    proceeding or examination authorized by law; and likewise by the secretary of
                    revenue and by any agent of the department of agriculture, trade and consumer
                    protection.

Id. (emphasis added).

        Doe did request Sylvia to issue multiple subpoenas so he could get all relevant information

before Sylvia so she could make a full and informed decision on such an important matter. (Compl.

¶ 46.) Contrary to the authority set forth at Wis. Stat. § 885.01 (4), Sylvia refused that request and

refused to issue subpoenas. (Compl. ¶ 50.) Sylvia’s reasoning was nothing other than a conclusion,

not grounded in any administrative code, statute, or other law. Id.

        Had Sylvia engaged in an objective analysis, she, like the court did in Racine Unified Sch.

Dist. v. Thompson, would have concluded that hearing examiners, like a school board, have the

right to issue subpoenas for the benefit of parties like Doe. Id., 107 Wis. 2d 657, 668, 321 N.W.2d

334, 339-40 (Ct. App. 1982). Doe then would have the responsibility to serve the witnesses with the



{07523378.DOCX.1}                                Page 12 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 12 of 28 Document 31
subpoena. Whether Sylvia did or did not have the right to enforce subpoenas is irrelevant and

nothing more than a red herring. What is relevant is that Sylvia’s refusal to issue subpoenas in this

regard negatively impacted Doe’s fundamental due process right to be heard.

        “This Court consistently has held that some form of hearing is required before an individual

is finally deprived of a property interest.” Mathews v. Eldridge, 424 U.S. 319, 333, 96 S. Ct. 893,

902, 47 L. Ed. 2d 18 (1976). “The “right to be heard before being condemned to suffer grievous

loss of any kind, even though it may not involve the stigma and hardships of a criminal conviction,

is a principle basic to our society.” Id. “The fundamental requirement of due process is the

opportunity to be heard “at a meaningful time and in a meaningful manner.” Id. To determine

what being “heard” looks like is determined on a case by case basis. Id. at 335; Goss v. Lopez, 419

U.S. 565, 579, 95 S. Ct. 729, 42 L.Ed.2d 725 (1975) (illustrating the Supreme Court has declined to

set out a universal rule and instructs lower courts to consider the parties’ competing interests.)

        Important decisions turn on questions of fact. Due process requires those facts to be

brought before the decision maker. A live testimonial process as part of a hearing is already in place,

consonant with due process principles. Wis. Admin. Code § UWS 17.12. A subpoena process is

already in place to compel witnesses to give live testimony as part of the process. Wis. Stat. § 885.01

(4). Doe’s position is not to create such rights as much as he is saying that the Defendants should

have followed and implemented existing due process rights embedded in Wis. Admin. Code § UWS

17.12 and Wis. Stat. § 885.01 (4). By failing to implement those existing due process rights, for the

benefit of the process and Doe alike, Doe’s fundamental due process rights were violated.




{07523378.DOCX.1}                            Page 13 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 13 of 28 Document 31
                    ii.     The lack of an impartial hearing examiner negatively impacted Doe’s
                            right to a fair and impartial process consistent with due process
                            principles.
         Defendants recognize Doe’s constitutional right to an impartial hearing examiner. (Dkt. 27,

p. 15.) Defendants also do not dispute that the hearing examiner and the prosecutor share the same

supervisor. (Id.) But Defendants posit that the prosecutor and examiner being supervised by the

same person and the fact that the examiner was a defendant in a state then federal lawsuit did not

make her impartial. Doe disagrees.

         In Hess v. Bd. of Trs. of S. Ill. Univ., the Court recognized that “biased decision-making does

violate due process.” Id., 839 F. 3d 668, 675 (7th Cir. 2016) (citing Withrow v. Larkin, 421 U.S. 35,

47, 95 S. Ct. 1456, 43 L.Ed.2d 712 (1975)). Blending the functions of the investigator and the

examiner, in itself, “does not necessarily render a process unfair.” Id. at 664 (citing Hess v. Bd. of

Trs. of S. Ill. Univ., 839 F. 3d 668, 675 (7th Cir. 2016)). To show bias a party “must lay a specific

foundation of prejudice or prejudgment, such that the probability of actual bias is too high to be

constitutionally tolerable.” Hess, 839 F. 3d at 675.

         Doe believes he did lay the necessary foundation, particularly at the Rule 12 (b)(6) stage, by

alleging the same person supervised the prosecutor and examiner and where Doe sued the examiner

and made her a party defendant because of issues arising out of the same matter for which the

examiner would render a decision. Both reasons, when taken together, and by applying common

sense, leads to the conclusion that any reasonable person in the position of the examiner would be

biased. Doe did assert sufficient allegations to demonstrate at the Rule 12 (b)(6) stage that his

fundamental due process rights were violated by biased decision making on the part of the examiner.

He has pled a plausible due process claim. 1



1         To illustrate this position, one need only consider the conclusory decision rendered by the examiner in refusing
the issue subpoenas by contorting the language and spirit of Wis. Stat. § 885.01 (4) in reaching a result-oriented decision.
(Compl. ¶ 50.)

{07523378.DOCX.1}                                    Page 14 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 14 of 28 Document 31
                     iii.   The hearing examiner’s ex parte communications added to the multiple
                            violations of Doe’s fundamental due process rights.

        An ex parte communication is a communication about a case which an adversary makes to the

decisionmaker without notice to an affected party. It offends due process because without notice of

it the party cannot respond to it. D’Acquisto v. Washington, 640 F. Supp. 594, 621 (N.D. Ill. 1986).

        All allegations in the complaint must be accepted as true; thus, in the Complaint, Doe alleged:

                    44.     As part of her September 10 decisions and orders, Sylvia, who was charged
                            with the responsibility to serve as a neutral fact finder, disclosed that she had
                            private communications with the confidential complainant without prior
                            notice to or knowledge of Plaintiff or his legal counsel:

                            A.      “Because this is a Title IX case, the complainant has many of the
                                    rights provided to the respondent in Chapter UWS 17. I have
                                    consulted with the complainant and she and/or her
                                    representative will not be questioning the respondent in this case.”

                            B.      “After consulting the complainant, all cross examination of the
                                    complainant by the respondent or respondent's representatives will
                                    be completed via note cards and read by the hearing examiner. . . .”

                            Unlike Plaintiff and his legal counsel, Attorney Stafford, who represents
                            Sylvia, and Attorney Lattis, who represents the University prosecution, had
                            prior knowledge of such contacts and communications, upon information
                            and belief.

                    54.     In contravention of Wis. Admin. Code§ UWS 17.12 (4)(c)3., Sylvia effectively
                            voided Plaintiff's ability to effectively question the confidential complainant.
                            In her September 10 decisions and orders, she stated:

                            A.      After consulting the complainant, all cross examination of the
                                    complainant by the respondent or respondent's representatives will
                                    be completed via note cards and read by the hearing examiner, as
                                    provided in UWS 17.12(4) (c) (3).

                    55.     The first problem is that Sylvia engaged in an ex parte discussion with the
                            complainant and adopted that procedure at her request.

(Compl. ¶¶ 44, 54, and 55) (emphasis in original).

        There is and can be no question that Sylvia, as the hearing examiner, reached out to and had

communications with the Complainant without Doe’s presence. There is and can be no question that

Sylvia spoke with the complaining person about the subject of the case over which she presided


{07523378.DOCX.1}                                  Page 15 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 15 of 28 Document 31
without the presence of Doe and others. Based on that discussion, and without consulting with Doe,

Sylvia rendered a decision about an important procedural aspect of this matter --- cross examination.

Doe was given no opportunity to participate in that decision and present his position before the

decision was made. In D’Acquisto, the district court noted:

                    It is true that a person or body charged with making a decision should make an
                    independent decision rather than automatically and uncritically accepting the view of
                    one adversary.

Id., 640 F. Supp. at 622 (citing Service v. Dulles, 354 U.S. 363, 387-388, 77 S. Ct. 1152, 1164-1165, 1

L.Ed.2d 1403 (1957) and Robinson v. Palmer, 631 F. Supp. 52, 55 (D. D.C. 1986)). The hearing

examiner did just that --- accepted the view of the Complainant --- after the improper ex parte

communication.

          Doe additionally alleged:

                    Without prior notice to Plaintiff, the University scheduled the hearing in this matter
                    to take place on August 28, 2019. Plaintiff first received notice on August 21,2019,
                    for a hearing a week later. Upon information and belief, the University engaged in
                    ex parte communications with Dr. Kedrowski about his availability, and consulted with
                    its own legal counsel and legal counsel for the hearing examiner about their
                    availability. Perhaps the University consulted with the confidential complainant about
                    her availability on August 28, 2019. Importantly, however, the University never
                    consulted with Plaintiff and never consulted with his legal counsel about their
                    availability on August 28, 2019, who was unavailable on that date.

(Compl. ¶ 34 J.) What the Defendants did was engage in calculated efforts to exclude Doe’s

counsel from the process of scheduling and then attempted to unilaterally impose a hearing

date without regard to the schedule and calendar of Doe or his counsel. This additional

evidence of ex parte communications, when coupled with the other ex parte communications

identified above, was designed and intended to frustrate the process and minimize the

opportunity of Doe and his counsel to participate in the process. That is just plain wrong and

unfair and no doubt states an additional aspect of a plausible violation of Doe’s due process

rights.



{07523378.DOCX.1}                                  Page 16 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 16 of 28 Document 31
                    iv.    The cross-examination procedure imposed by the hearing
                           examiner violated the fundamental constitutional due process
                           rights of Doe.

         Defendants do not seem to challenge that having the ability to cross examine witnesses

is a requirement in order to satisfy fundamental constitutional due process.                       Doe and

Defendants agree that whatever hearing procedure was adopted Doe and the complaining

person must be “allowed to effectively question the witness.” Wis. Admin. Code § UWS 17.12

(4)(c)3. Restricting Doe to cross examination by note cards passed to the hearing examiner to

ask the question did not allow Doe to effectively question the witness. 2 Such a process violated

Doe’s fundamental constitutional right to due process.

         Specifically, an attorney cannot effectively question a principal party/witness who is alleging

that his client committed the egregious act of sexual assault, by way of note cards. Note cards may

be effective for high school students to give class presentations; however, they are not effective for

attorneys to examine and cross examine witnesses, especially when given to another to ask.

Requiring the presentation of questions by note cards to be asked by another removes the give and

take of conversations, the immediate follow up of questions, the elimination of time for a witness to

form and fashion responses to hide the truth, etc. This is especially important because there is

limited time afforded to the parties during the hearing.

         Sylvia either did not consider, or failed to give reasonable weight, to the fact that this matter

involved Doe and the Complainant and no other witness to the alleged act of sexual assault. Thus,

the hearing examiner’s determination likely turned on the credibility of the Complainant, Doe, and

any witnesses.




2       Such restriction was not imposed on the University prosecution, as he was freely allowed to directly cross
examine Doe, orally, without use of note cards passed to the hearing examiner.

{07523378.DOCX.1}                                   Page 17 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 17 of 28 Document 31
        “[W]hen the university’s determination turns on the credibility of the accuser, the accused, or

witnesses, that hearing must include an opportunity for cross-examination. Baum, 903 F. 3d at 581

(citing Univ. of Cincinnati, 872 F. 3d at 399-402 and Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 641

(6th Cir. 2005)).

        “Due process requires cross-examination in circumstances like these because it is ‘the

greatest legal engine ever invented’ for uncovering the truth. Not only does cross-examination allow

the accused to identify inconsistencies in the other side’s story, but it also gives the fact-finder an

opportunity to assess a witness’s demeanor and determine who can be trusted. So if a university is

faced with competing narratives about potential misconduct, the administration must facilitate some

form of cross-examination in order to satisfy due process.” Baum, 903 F. 3d at 581 (internal

citations omitted). Sylvia failed to consider the same or substantially similar information and

circumstances.

        Sylvia failed to consider the significance of Doe’s interests against the minimal burden

Defendants would bear by unfettered, professional cross examination of the confidential

complainant. “Time and again, this circuit has reiterated that students have a substantial interest at

stake when it comes to school disciplinary hearings for sexual misconduct. Being labeled a sex

offender by a university has both an immediate and lasting impact on a student’s life. The student

may be forced to withdraw from his classes and move out of his university housing. His personal

relationships might suffer. And he could face difficulty obtaining educational and employment

opportunities down the road, especially if he is expelled.” Baum, 903 F. 3d at 582.

        Providing Doe with the opportunity for cross-examination of the Complainant would have

cost Defendants very little. Defendants already provide for hearings with cross-examination in all

misconduct cases. So Defendants already have all the resources they need to facilitate cross-


{07523378.DOCX.1}                             Page 18 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 18 of 28 Document 31
examination and knows how to oversee the process. Baum, 903 F. 3d at 582 (citing Univ. of

Cincinnati, 872 F. 3d at 406 (noting that a university does not bear a significant administrative

burden when it already has procedures in place to accommodate cross-examination)). Importantly,

neither Sylvia nor the other Defendants identified any substantial burden that would be imposed on

them if they permitted the opportunity for cross-examination in this context.

        Cross-examination is essential in cases like this because it does more than uncover

inconsistencies—it “takes aim at credibility like no other procedural device.” Without the back-and-

forth of adversarial questioning, the accused cannot probe the witness’s story to test her memory,

intelligence, or potential ulterior motives. Doe, his counsel, nor Sylvia, can effectively observe the

demeanor of the confidential complainant or effectively question her under a constrained and limited

process of questioning through notes cards. See Brutus Essay XIII, in The Anti-Federalist 180

(Herbert J. Storing ed., 1985) (“It is of great importance in the distribution of justice that witnesses

should be examined face to face, that the parties should have the fairest opportunity of cross-

examining them in order to bring out the whole truth; there is something in the manner in which a

witness delivers his testimony which cannot be committed to paper, and which yet very frequently

gives a complexion to his evidence, very different from what it would bear if committed to writing. .

. .”)

        Under these circumstances, and at this Rule 12 (b)(6) stage, where no discovery has been

undertaken, Doe has sufficiently alleged a plausible due process violation in this additional respect to

survive the Defendants’ motion to dismiss.

                    v.   The preponderance of the evidence standard of proof does not comport
                         with fundamental due process.

        Defendants apply the lower preponderance burden for allegations of sexual misconduct, as

the did here, and the higher clear and convincing burden for all non-sexual-related misconduct


{07523378.DOCX.1}                            Page 19 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 19 of 28 Document 31
allegations under Title IX. This differing burden scheme contravenes a directive from the U.S.

Department of Education, Office for Civil Rights (“OCR”), which administers Title IX cases like this

one. “The standard of evidence for evaluating a claim of sexual misconduct should be consistent with

the standard the school applies in other student misconduct cases.” “When a school applies special

procedures in sexual misconduct cases, it suggests a discriminatory purpose and should be avoided.”

Id.

         The issue of differing burdens of proof was analyzed in Doe v. Brandeis Univ. wherein the

district court held:

                    [T]he lowering of the standard appears to have been a deliberate choice by the
                    university to make cases of sexual misconduct easier to prove—and thus more
                    difficult to defend, both for guilty and innocent students alike. It retained the higher
                    standard for virtually all other forms of student misconduct. The lower standard may
                    thus be seen, in context, as part of an effort to tilt the playing field against accused
                    students, which is particularly troublesome in light of the elimination of other basic
                    rights of the accused.

Id., 177 F. Supp. 3d 561, 607 (D. Mass. 2016). Deciding the University proceeding based on the lower

burden, in contravention of OCR guidance, and taking into consideration the district court’s analysis

in Brandeis Univ., does not provide Doe with a fundamentally fair hearing.

          Under these circumstances, and at this Rule 12 (b)(6) stage, where no discovery has been

undertaken, Doe has sufficiently alleged a plausible due process violation in this additional respect to

survive the Defendants’ motion to dismiss.

                    vi.     Doe did not receive and is not receiving constitutionally adequate
                            process.

      Defendants compare the process afforded to Doe under the administrative code to what was

determined in Marshall v. Indiana University and conclude that Doe is receiving constitutionally

adequate process. Id., 170 F. Supp. 3d 1201, 1205 (S.D. Ind. 2016). Marshall involves a different




{07523378.DOCX.1}                                  Page 20 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 20 of 28 Document 31
university system in a different state involving different facts; thus, Marshall should not be the

benchmark by which due process rights are judged.

        Moreover, it is not just the procedures afforded by the administrative code that are deficient

from a due process perspective here, but the problem is compounded by how the Defendants

implemented that process relative to Doe. For all of the reasons set forth in the complaint and based

on all of the arguments made in this brief, Doe believes this is a case that should be tried on its merits

rather than by summary disposition under Rule 12 (b)(6) without any discovery. Fairness and justice

warrant granting Doe his day in court and the Defendants be held responsible for their missteps by a

jury of peers.

II.     The Defendants violated the Equal Protection Clause because Does was not treated
        equally and was treated differently before any final determination of liability was
        rendered.

        The Fourteenth Amendment to the United States Constitution is clear:

                    All persons born or naturalized in the United States, and subject to the jurisdiction
                    thereof, are citizens of the United States and of the State wherein they reside. No
                    State shall make or enforce any law which shall abridge the privileges or immunities
                    of citizens of the United States; nor shall any State deprive any person of life, liberty,
                    or property, without due process of law; nor deny to any person within its jurisdiction
                    the equal protection of the laws.

U.S. Const. amend XIV, § 1.

        In Esmail v. Macrane, 53 F. 3d 176 (7th Cir. 1995), then Chief Judge Posner outlined three

types of equal protection cases, two common and one uncommon. The first involves charges of

singling out members of a vulnerable group, racial or otherwise, for unequal treatment. See City of

Cleburne, Tex. v. Cleburne Living Center, Inc., 473 U.S. 432, 440-41, 105 S. Ct. 3249, 3254–55, 87

L.Ed.2d 313 (1985). The second type of equal protection case involves challenges to law or policies

alleged to make irrational class distinctions. The third type of case involves action taken by the state,

whether in the form of prosecution or otherwise, that is a spiteful effort to persecute the plaintiff, or

to “get” her, for reasons wholly unrelated to any legitimate state objective. Esmail, 53 F. 3d at 180.

{07523378.DOCX.1}                                   Page 21 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 21 of 28 Document 31
“[T]he purpose of the equal protection clause of the Fourteenth Amendment is to secure every person

within the State’s jurisdiction against intentional and arbitrary discrimination, whether occasioned by

express terms of a statute or by its improper execution through duly constituted agents.” Village of

Willowbrook v. Olech, 528 U.S. 562, 564, 120 S. Ct. 1073, 145 L.Ed.2d 1060 (2000).

         In the present case, and as stated above, the first equal protection claim arises from the

differing standards applied to claim of sexual misconduct and to other non-sexual student misconduct

cases.   “When a school applies special procedures in sexual misconduct cases, it suggests a

discriminatory purpose and should be avoided.” 3 In that regard, the district court in Doe v. Brandeis

Univ. held:

                    [T]he lowering of the standard appears to have been a deliberate choice by the
                    university to make cases of sexual misconduct easier to prove—and thus more
                    difficult to defend, both for guilty and innocent students alike. It retained the higher
                    standard for virtually all other forms of student misconduct. The lower standard may
                    thus be seen, in context, as part of an effort to tilt the playing field against accused
                    students, which is particularly troublesome in light of the elimination of other basic
                    rights of the accused.

Id., 177 F. Supp. 3d 561, 607 (D. Mass. 2016). The different standard does not provide equal

protection or treatment under the law.

         The second equal protection claim involves restrictions imposed on Doe relative to cross

examination of the complaining person where no restriction was imposed on others relative to the

cross examination of Doe. Specifically, the University prosecution was given a free pass to cross

examine Doe. The University prosecution was not limited to cross examination by note card or

through the hearing examiner. However, Doe’s counsel was prohibited from cross examining the

Complainant in every respect. The only opportunity was by note card passed to the hearing examiner




3
        https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-
201709.pdf?utm_content=&utm_medium=email&utm_name=&utm_source=govdelivery&utm_term=


{07523378.DOCX.1}                                  Page 22 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 22 of 28 Document 31
to ask the questions. This differing process did not provide equal protection or treatment under the

law.

III.    The Wisconsin notice of claim statute does not apply because Doe has alleged federal
        constitutional violations that are exempted from the notice of claim statute.

        Defendants’ argument regarding Doe’s failure to follow the statutory notice of claim statute

found in Wis. Stat. § 893.82 is contrary to established case law. Specifically, Defendants argue that

Doe’s declaratory judgement action should be dismissed because Doe did not allege he complied with

Wis. Stat. § 893.82. (Dkt. 27, p. 19.) The law does not support that argument. The failure of a

complaint to allege notice is not jurisdictional. Majerus v. Milwaukee County, 39 Wis. 2d 311, 316,

159 N.W.2d 86 (1968). The Wisconsin Supreme Court has ruled that “[c]ompliance [with the statute]

is a condition in fact requisite to liability, but it does not follow that the pleading of compliance is a

condition to stating a cause of action.” Id.

        Regardless, Doe did not have to give a notice to Defendants under Wis. Stat. § 893.82 because

of the nature of the case. This is a § 1983 case. According to the Supreme Court in Felder v. Casey,

plaintiffs in federal civil rights cases brought in state court pursuant to 42 U.S.C. § 1983 are not

required to satisfy the Wisconsin notice of claim statute in order to commence or conclude federal

civil rights claims. Casey, 487 U.S. 131, 153 (1988). According to Casey:

                    A state law that conditions that right of recovery upon compliance with a rule
                    designed to minimize governmental liability, and that directs injured persons to seek
                    redress in the first instance from the very targets of the federal legislation, is
                    inconsistent in both purpose and effect with the remedial objectives of the federal
                    civil rights law. Principles of federalism, as well as the Supremacy Clause, dictate that
                    such a state law must give way to vindication of the federal right when that right is
                    asserted in state court.

Id.

        Moreover, the Wisconsin Supreme Court has ruled that a complaint simply has to “allege that

a person acting under the color of state law deprived the plaintiff of a right under federal law or the

federal constitution” for the Notice of Claim statute not to apply. Thorp v. Town of Lebanon, 2000

{07523378.DOCX.1}                                   Page 23 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 23 of 28 Document 31
WI 60, ¶ 20, 235 Wis. 2d 610, 625, 612 N.W.2d 59, 68. Doe has satisfied that requirement. See, e.g.,

Compl. ¶¶ 86.

        Further, Doe’s declaratory judgement claim is an additional cause of action that seeks redress

for Defendants deprivation of Doe’s due process rights by not having a sufficient opportunity to be

heard because his request for the issuance of subpoenas to compel witnesses to appear at the hearing

was denied. The main purpose of the notice of claim statute, as found at Wis. Stat. § 893.82 (1)(a)-(c),

is not implicated by the declaratory judgment statute because no monetary judgment is being sought

under the declaratory judgment claim. Doe is not claiming any injury or damage pursuant to Wis. Stat.

§ 893.82 (2)(c) by way of his declaratory judgment claim; thus, he does not qualify as a claimant under

Wis. Stat. § 893.82 (2)(b). Consequently, the notice of claim statute does not appear to apply here.

        Defendants also claim there is no justiciable controversy and, thus, a claim for declaratory

judgment cannot be asserted Doe disagrees. According to Planned Parenthood of Wisconsin, Inc. v.

Schimel,

                    A matter is justiciable if the following four factors are satisfied:

                    (1)      The matter is a controversy in which a claim of right is asserted against one who has
                             an interest in contesting it;

                    (2)      The controversy is between persons whose interests are adverse;

                    (3)      The party seeking declaratory relief has a legal interest in the controversy, that is to
                             say a legally protectible interest; and

                    (4)      The issue involved in the controversy is ripe for judicial determination.

Id., 2016 WI App 19, ¶ 10, 367 Wis. 2d 712, 721, 877 N.W.2d 604, 608 (citing Olson v. Town of

Cottage Grove, 2008 WI 51, ¶ 29, 309 Wis.2d 365, 749 N.W.2d 211).

        Each of the factors for a justiciable matter are present. Doe is asserting a right --- to compel

the issuance of a subpoena --- against the Defendants who have an interest in contesting that right.

The interests of Doe and the Defendants are adverse. Doe has a legal interest in the controversy.


{07523378.DOCX.1}                                    Page 24 of 28

           Case 2:19-cv-01348-PP Filed 11/08/19 Page 24 of 28 Document 31
And the issue involved is ripe for judicial determination. Accordingly, Doe has the right to assert his

declaratory judgment claim for decision.


IV.     There is no requirement that a plaintiff like Doe must exhaust his administrative
        remedies before commencing a § 1983 case.

        Defendants’ argument that Doe’s complaint must be dismissed because he failed to exhaust

administrative remedies (Dkt. No. 27, pp. 9-10) has been rejected by the Wisconsin Supreme Court.

A plaintiff need not exhaust his administrative remedies before bringing a § 1983 action in state

court. Casteel v. Vaade, 167 Wis. 2d 1, 5, 481 N.W.2d 476, 477 (1992); see also Irby v. Macht, 184

Wis. 2d 831, 837, 522 N.W.2d 9, 11 (1994), overruled on other grounds, Sandin v. Conner, 515 U.S.

472, 115 S. Ct. 2293, 132 L.Ed.2d 418 (1995)). In the present case, Doe originally filed his §

1983 action in state court. Thereafter the Defendants removed the case to this Court. Because Doe

was not obligated to exhaust his administrative remedies before commencing his § 1983 action,

Defendants’ motion to dismiss should not be granted in this regard.


V.      Defendants’ qualified immunity defense is premature and should be addressed by way
        of a summary judgment motion after sufficient discovery has been allowed and
        pursued.

        Defendants finally assert, as to the § 1983 claims, that the individual Defendants have qualified

immunity against Doe’s allegations. (Dkt. No. 27, pp. 19-22.) That contention is flawed because, as

discussed above, (i) the way the University’s procedures were constitutionally deprived and failed to

give Plaintiff, at the very least, an opportunity to be heard; and (ii) the due process rights sought by

Plaintiff are basic and well-established. The individual Defendants cannot bury their heads in the sand

from well-established rights, and then turn around and claim immunity form the harm and injustices.

        Even so, the qualified immunity defense should not be decided at this juncture. Qualified

immunity is generally addressed at summary judgment rather than on the pleadings. See Alvarado v.



{07523378.DOCX.1}                            Page 25 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 25 of 28 Document 31
Litscher, 267 F. 3d 648, 651 (7th Cir. 2001) (“[A] complaint is generally not dismissed under Rule

12(b)(6) on qualified immunity grounds.”); Jacobs v. City of Chicago, 215 F. 3d 758, 765 n.3 (7th Cir.

2000) (“[T]he dismissal of a § 1983 suit under Rule 12 (b)(6) is a delicate matter.”). See also Peterson

v. Jensen, 371 F. 3d 1199, 1201 (10th Cir. 2004) (“summary judgment provides the typical vehicle for

asserting a qualified immunity defense”). Raising a qualified immunity defense via motion to dismiss,

“subjects the defendant to a more challenging standard of review than would apply on summary

judgment.” Id. at 1201. “[I]t is the defendant’s conduct as alleged in the complaint that is scrutinized for

‘objective legal reasonableness.’” Behrens v. Pelletier, 516 U.S. 299, 309 (1996) (emphasis in original).

        A.          Defendants do not have qualified immunity because their conduct violated
                    clearly established rights.

        If the Defendants’ qualified immunity defense is adjudicated at the Rule 12 (b)(6) stage,

without any discovery, then we must “accept as true the well-pleaded allegations of the complaint and

the inferences that may be reasonably drawn from those allegations.” Wilson v. Formigoni, 42 F. 3d

1060, 1064 (7th Cir. 1994); McMath v. City of Gary, Ind., 976 F. 2d 1026, 1031 (7th Cir. 1992).

        Determining whether qualified immunity applies to the individual Defendant’s actions

requires a two-part test:

                    (1)   whether the facts, taken in the light most favorable to the plaintiff, show that
                          the defendant violated a constitutional right; and

                    (2)   whether that constitutional right was clearly established at the time of the
                          alleged violation.”

Wheeler v. Lawson, 539 F.3d 629, 639 (7th Cir. 2008) (citing Saucier v. Katz, 533 U.S. 194, 201, 121

S. Ct. 2151, 150 L.Ed.2d 272 (2001). “The ‘dispositive inquiry’ . . . is whether it would [have been]

clear to [the Defendant] that [his or her] conduct was unlawful in the situation [they] confronted.

Wood v. Moss, 572 U.S. 744, 757, 134 S. Ct. 2056, 2066, 188 L. Ed. 2d 1039 (2014). In this analysis,

the plaintiff has “the burden of establishing that his or her rights were violated and that the law



{07523378.DOCX.1}                              Page 26 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 26 of 28 Document 31
concerning the proffered right ‘was clearly established at the time the challenged conduct occurred.’”

Burritt v. Ditlefsen, 807 F. 3d 239, 249 (7th Cir. 2015).

        In the present case, the individual Defendants do not have qualified immunity because they

violated Doe’s rights to receive procedural due process in a disciplinary hearing - a right that is clearly

established. See Rainsberger v. Benner, 913 F. 3d 640, 647 (7th Cir. 2019); see also Purdue Univ., 928

F. 3d at 665. Accepting the allegations of the complaint as true, as we must, the individual Defendants

violated the law in a number of ways. For example,

                    •   As discussed above, Defendant Sylvia ignored clear Wisconsin law that required her,
                        as the hearing examiner, to issue subpoenas to Plaintiff’s witnesses. Defendant Sylvia
                        refused to follow the law. As a result, Plaintiff did not have the opportunity to be
                        heard – a constitutional bare minimum.

                    •   Defendant Sylvia violated Plaintiff’s constitutional due process rights and UWS
                        17.12(4)(c)3. through her ex parte communication with the Complainant. The
                        Administrative Code says, “[t]he hearing examiner or committee… May take
                        reasonable steps to maintain order, and to adopt procedures for the questioning of a
                        witness appropriate to the circumstances of that witness's testimony, provided,
                        however, whatever procedure is adopted, the complainant and respondent are allowed
                        to effectively question the witness.” Instead of taking reasonable steps, Defendant
                        Sylvia had the Complainant make a unilateral decision regarding procedures.

                    •   Defendant Sylvia’s violation of UWS 17.12(4)(c)3 also violated Plaintiff’s
                        constitutional due process right to cross-examine the Complainant. Defendant Sylvia
                        used Complainant’s unilateral decision regarding questions to eliminate Plaintiff’s
                        ability to perform live, in-person cross examination – a constitutional right under Doe
                        v. Baum.

                    •   Defendant Kuether violated Plaintiff’s due process rights to a fair and impartial
                        investigation and hearing by not appropriately following Title IX guidelines.
                        Specifically, Defendant Kuether lead [sic] the bias[ed] process against Plaintiff by
                        naming a witness and reporting party of the complaint of the Complainant as the
                        investigator of this matter.

                    •   Under UWS 17, Defendant Leavitt is the “chief administrative officer” of the
                        University and was tasked with overviewing the processes. However, Defendant
                        Leavitt stood by idly allowing constitutional violations to run rampant in the
                        investigation and hearing process.

Accordingly, Doe’s Complaint, taken as true, proves two things: (1) the individual Defendants violated

Plaintiff’s constitutional rights to due process; and (2) those rights were clearly established at the time


{07523378.DOCX.1}                             Page 27 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 27 of 28 Document 31
of the alleged violation. Therefore, the individual Defendants cannot succeed to remove themselves

from the sphere of accepting responsibility for their actions, pursuant to the qualified immunity

defense at the Rule 12 (b)(6) juncture.

        Finally, as demonstrated above, Doe has protected liberty and property interests that affords

him the constitutional right of due process in his disciplinary hearing. The individual Defendants do

not have the liberty of claiming this is a case of first impression like those individual defendants did

in Purdue Univ. In Purdue Univ., the Seventh Circuit ruled that the individual defendants had

qualified immunity because it was the first “case addressing whether university discipline deprives a

student of a liberty interest, the relevant legal rule was not ‘clearly established,’ and a reasonable

university officer would not have known at the time of John’s proceeding that her actions violated the

Fourteenth Amendment.” Purdue Univ., 928 F. 3d at 666.

        Here, that is not the case. All the constitutional rules Doe has shown that the individual

Defendants have violated were clearly established at the time the decisions were made; thus, the

individual Defendants cannot stand on the qualified immunity defense at this time. Accordingly, a

motion to dismiss is not the correct pleading by which to address the Defendants’ qualified immunity

defense and, therefore, in that additional respect, their motion should be denied.

                                          CONCLUSION

        For the reasons stated herein, the Defendants’ motion to dismiss should be denied.

                                               DEMPSEY EDGARTON, ST. PETER, PETAK,
                                               & ROSENFELDT LAW FIRM
                                               Attorneys for the Plaintiff

                                               /s/ Peter J. Culp
                                               Peter J. Culp, Bar No. 1022595
                                               210 North Main Street, Oshkosh, WI 54903
                                               Email:          peterc@dempseylaw.com
                                               Telephone:      920-235-7300
                                               Facsimile:      920-235-2011



{07523378.DOCX.1}                           Page 28 of 28

          Case 2:19-cv-01348-PP Filed 11/08/19 Page 28 of 28 Document 31
